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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:04-cr-00006-MP-AK

BENJAMIN HAYDEN,

      Defendant.
___________________________/
                                           ORDER

       This matter is before the Court on Doc. 644, Motion for Time Served Credit by Benjamin

Hayden, and doc. 654, Motion to Correct Clerical Error. The government filed a response to

both motions at doc. 663, in which it indicated no objection to the requested relief. The Court

agrees with the parties that because Mr. Hayden was arrested on March 1, 2004, for his offense

and remained in continuous federal custody through his sentencing on February 11, 2005, he is

entitled to time served for that period. The motions at doc. 644 and 654 are therefore granted in

this regard, and a copy of this order should be sent to the Bureau of Prisons.

       Also, however, in doc. 644, Mr. Hayden appears to raise another issue. He states,

"Another issue that concerns me is these people still have separatises on me. Once again I

thought you said these were to be lifted. The issue has me where I can't transfer." The Court

cannot determine the intent of this language, and so any motion contained within is denied

without prejudice to Mr. Hayden raising the issue again in a separate, and more easily

understood, pleading.

       DONE AND ORDERED this 6th day of February, 2007


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
